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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

EUGENIA II INVESTMENT
HOLDINGS LIMITED (BVI),

                  Plaintiff,

             v.                                               NO. 2:20-CV-00843-JLB-NPM

ANTHONY BELISLE,

                  Defendant.


         RULE 7.1 AND LOCAL RULE 3.03 DISCLOSURE STATEMENT

Filed by: 1 John E. Fisher, Esq., counsel for Plaintiff


Each person—including each lawyer, association, firm, partnership, corporation,
limited liability company, subsidiary, conglomerate, affiliate, member, and other
identifiable and related legal entity—that has or might have an interest in the outcome:

None.

Each entity with publicly traded shares or debt potentially affected by the outcome:

None.

Each additional entity likely to actively participate, including in a bankruptcy
proceeding the debtor and each member of the creditor’s committee:

None.

Each person arguably eligible for restitution:

None.


1
    When filing via CM/ECF, use the “Certificate of interested persons and corporate disclosure
    statement” event under Civil Events-Other Filings-Other Documents.
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If filed by a nongovernmental corporate party, then identify any parent corporation
and any publicly held corporation owning 10% or more of its stock or state there is no
such corporation:

None.

I certify that, except as disclosed, I am unaware of an actual or potential conflict of
interest affecting the district judge or the magistrate judge in this action, and I will
immediately notify the judge in writing within fourteen days after I know of a conflict.

                                            Respectfully submitted,

Dated:       February 25, 2021                 FISHER RUSHMER, P.A.

                                               By: /s/ John Edwin Fisher
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                           CERTIFICATE OF SERVICE



                                           2
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       I HEREBY CERTIFY that on the February 25, 2021, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system, which will send
electronic notification to all counsel of record.

                                                 BY: /s/ John Edwin Fisher
                                                 John Edwin Fisher, Esq.
                                                 Florida Bar No: 0091677




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